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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SUSAN BRADY, et al.,
                              Plaintiffs,                     23 -cv- 2061   (JGLC)

                  -against-                            CIVIL CASE MANAGEMENT
                                                        PLAN AND SCHEDULING
ACUITY BRANDS
                                                                ORDER
                              Defendant.



JESSICA G. L. CLARKE, United States District Judge:

       This Civil Case Management Plan and Scheduling Order is submitted by the parties
in accordance with Fed. R. Civ. P. 26(f)(3).

                                                  ✔ to conducting all further proceedings
  1. All parties [consent ____/ do not consent ___]
     before a United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c).
     The parties are free to withhold consent without any adverse substantive consequences.
     [If all parties consent, the remaining paragraphs need not be completed at this time.
     Instead, within three days of submitting this Case Management Plan and Scheduling
     Order, the parties shall submit to the Court a fully executed Notice, Consent, and
     Reference of a Civil Action to a Magistrate Judge, available at
     https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf.]

                        ✔ have not ___] conferred pursuant to Fed. R. Civ. P. 26(f).
  2. The parties [have ____/

                                                  ✔ taken place.
  3. Settlement discussions [have ____/ have not ___]

         a. Counsel for the parties have discussed an informal exchange of information in aid
            of early settlement and have agreed to exchange the following information within
            ____________ days/weeks: ___________________________________________
            __________________________________________________________________
            __________________________________________________________________

         b. Counsel for the parties believe the following alternative dispute resolution
            mechanisms may be helpful in resolving this case (check all that apply):

             ☐ Immediate referral to the District’s Mediation Program

             ☐ Immediate referral to a Magistrate Judge



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            ☐ Referral to the District’s Mediation Program after the close of fact discovery

            ☐ Referral to a Magistrate Judge after the close of fact discovery

            ☐ Retention of a private mediator

            ☐ Other __________________________________________________________
                    Parties may seek a referral or other ADR after further discovery.

        c. The use of any alternative dispute resolution mechanism does not stay or modify
           any date in this order.

4. [If an action in which subject matter jurisdiction is founded on diversity of citizenship
   pursuant to 28 U.S.C. § 1332.] The party asserting the existence of such jurisdiction [has
   ____/
     ✔ has not ___] filed a letter explaining the basis for the party’s belief that diversity of
   citizenship exists. If the party has not yet filed this letter, the party will do so at least three
   days before the Initial Pretrial Conference.

5. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
   ___________________.
    06/22/23                 [Absent exceptional circumstances, a date not more than 14 days
   following the Initial Pretrial Conference.]

6. Unless a party amends a pleading as a matter of course pursuant to Fed. R. Civ. P.
   15(a)(1), amended pleadings may not be filed and additional parties may not be joined
   except with leave of the Court. Any motion for leave to amend or join additional parties
   shall be filed no later than ___________________.
                                06/22/23                  [Absent exceptional circumstances, a
   date not more than 30 days following the date of this Order. Any motion to amend or to
   join additional parties filed after the deadline in this paragraph will be subject to the
   “good cause” standard in Fed. R. Civ. P. 16(b)(4) rather than the more lenient standards
   of Fed. R. Civ. P. 15 and 21.]

7. [If applicable] The plaintiff(s) shall provide HIPAA-compliant medical records release
   authorizations to the defendant(s) no later than __________________.
                                                     N/A


8. Fact Discovery

        a. All fact discovery shall be completed no later than ___________________.
                                                               11/01/24                [A
           period not to exceed 120 days from the date of this Order, unless approved by the
           Court due to exceptional circumstances.]

        b. Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall be
           served no later than ___________________.
                                  07/14/23               [Absent exceptional circumstances, a
           date not more than 30 days following the Initial Pretrial Conference.]




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       c. Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served no later than
          ___________________.
           09/02/24                 [Absent exceptional circumstances, a date not more than
          30 days following the Initial Pretrial Conference.]

       d. Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served no later than
          ___________________.
          09/02/24                 [Absent exceptional circumstances, a date not more than
          30 days following the Initial Pretrial Conference.]

       e. Depositions pursuant to Fed. R. Civ. P. 30 and 31 shall be completed by the date
          set forth in paragraph 8(a).

       f. Any of the deadlines in paragraphs 8(b)–(e) may be extended by the written
          consent of all parties without application to the Court, provided that all fact
          discovery is completed by the date set forth in paragraph 8(a).

9. [If applicable] Expert Discovery

       a. Anticipated types of experts: __________________________________________
                                        none at this time
          __________________________________________________________________
          __________________________________________________________________

       b. All expert discovery, including expert reports and depositions, shall be completed
          no later than _____________________.
                        10/01/24                   [Absent exceptional circumstances, a
          date no later than 45 days from the end of fact discovery deadline set forth in
          paragraph 8(a).]

       c. Plaintiff’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made no
          later than __________________________.
                      10/01/24


       d. Defendant’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made
          no later than __________________________.
                        10/01/24


       e. The interim deadlines in paragraphs 9(c)–(d) may be extended by the written
          consent of all parties without application to the Court, provided that expert
          discovery is completed by the date set forth in paragraph 9(b).

10. Any proposed order or stipulation regarding electronically stored information shall be
    filed within 30 days of the date of this Order.

11. Any discovery disputes shall be addressed according to Section 4(k) of the Court’s
    Individual Rules and Practices in Civil Cases.

12. By _____________
        11/08/24         [one week after the close of fact discovery], the parties shall submit a
    post-discovery joint status letter, as outlined in Section 3(d) of the Court’s Individual
    Rules and Practices in Civil Cases.



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              13. Unless otherwise ordered by the Court, within 30 days of the close of all discovery, or, if
                  a dispositive motion has been filed, within 30 days of a decision on such motion, the
                  parties shall submit to the Court for its approval a Joint Pretrial Order prepared in
                  accordance with the Court’s Individual Trial Rules and Procedures and Fed. R. Civ. P.
                  26(a)(3).

              14. The parties shall be ready for trial as of two weeks following the deadline for the
                  proposed Joint Pretrial Order, even if trial is tentatively scheduled for a later date.

                                ✔ is not ___] to be tried to a jury.
              15. The case [is ___/

              16. Counsel for the parties have conferred and their best estimate of the length of trial is
                  _____________.
                  3 days

                                                                          ✔ is not ___] necessary.
              17. The parties believe the initial pretrial conference [is ___/

              18. Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
                  Fed. R. Civ. P. 26(f)(3), are set forth below:
                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________

              19. Counsel for the Parties:
                  ______________________________
                  Michael L. Ferch, Esq. [MF-6211]               ________________________________
                                                                 Matthew G. Hawk, Esq. [pro hac vice]
                  ______________________________
                  195 Plymouth Street #516                       ________________________________
                                                                 154 Krog St. NE Suite 190
                  ______________________________
                  New York, NY 11201                             ________________________________
                                                                 Atlanta, GA 30307

              20. The next case management conference is scheduled for ___________________
                                                                       November 26, 2024      at
                  _______________________________________.
                  11:00 a.m.                                     [To be completed by the Court.]

              21. This Order may not be modified or the dates herein extended, except as provided in
                  paragraphs 8(f) and 9(e) or by further Order of the Court for good cause shown. Any
                  application to modify or extend the dates herein, except as provided in paragraphs 8(f)
                  and 9(e), shall be made in a written application in accordance with the Court’s Individual
                  Rules and Practices and shall be made no fewer than two business days prior to the
                  expiration of the date sought to be extended.

              Dated: 06/26/24
                     New York, New York
The case management conference previously scheduled for July         SO ORDERED.
30, 2024 is adjourned to November 26, 2024 at 11:00 a.m.
Regarding the parties' letter addressed to Magistrate Judge Wang
at ECF No. 25, the parties are reminded that this Court is
handling all general pretrial activity in this matter. Accordingly,  JESSICA G. L. CLARKE
if the parties have a discovery dispute and seek the aid of the      United States District Judge
Court, they must comply with the Court's Individual Rules and       Dated: July 2, 2024
Practices in Civil Cases. The Clerk of Court is directed to               New York, New York
terminate ECF Nos. 25 and 27.
